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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Jerrod Burt,                                                Case No. 20-cv-1165-DSD-KMM

                        Plaintiff,

 v.
                                                            PROTECTIVE ORDER

 City of Minneapolis, and John Doe, in
 His/Her Individual and Official Capacities,

                       Defendants.


         Based on the parties Stipulation for Protective Order (ECF No. 10), the Court enters

the following:

      1. Definitions. As used in this protective order:

         (a)    “attorney” means an attorney who has appeared in this action;

         (b)    “confidential document” means a document designated as confidential under

         this protective order;

         (c)    to “destroy” electronically stored information means to delete from all

         databases, applications, and file systems so that the information is not accessible

         without the use of specialized tools or techniques typically used by a forensic expert;

         (d)    “document” means information disclosed, or produced in discovery

         including at a deposition;

         (e)    “notice” or “notify” means written notice;

         (f)    “party” means a party to this action; and
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   (g)    “protected document” means a document protected by a privilege or the

   work-product doctrine.

2. Designating a Document or Deposition as Confidential.

   (a)    A party or non-party disclosing or producing a document may designate it as

   confidential if the party or non-party contends that it contains confidential or

   proprietary information, or government data classified as “not public”, as defined

   by Minn. Stat. § 13.02, subd. 8a.

   (b)    A party or non-party may designate a document as confidential by

   conspicuously marking each page with the word “confidential.”

   (c)    Deposition testimony may be designated as confidential:

          (1)    on the record at the deposition; or

          (2)    after the deposition, by promptly notifying the parties and those who

          were present at the deposition.

   (d)    If a witness is expected to testify as to confidential or proprietary

   information, or government data classified as “not public”, as defined by Minn. Stat.

   § 13.02, subd. 8a, a party or non-party may request that the witness’s deposition be

   taken in the presence of only those persons entitled to receive confidential

   documents.

3. Who May Receive a Confidential Document.

   (a)    A confidential document may be used only in this action.

   (b)    No person receiving a confidential document may reveal it, except to:

          (1)    the court and its staff;


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    (2)       an attorney or an attorney’s partner, associate, or staff;

    (3)       a person shown on the face of the confidential document to have

    authored or received it;

    (4)       a court reporter or videographer retained in connection with this

    action;

    (5)       a party (subject to paragraph 3(c)); and

    (6)       any person who:

              (A)    is retained to assist a party or attorney with this action; and

              (B)    signs a declaration that contains the person’s name, address,

              employer, and title, and that is in substantially this form:

                            I have read, and agree to be bound by, the protective

                     order in the case captioned [case caption and number] in the

                     United States District Court for the District of Minnesota. As

                     soon as my work in connection with that action has ended, but

                     not later than 30 days after the termination of that action

                     (including any appeals), I will return or destroy any

                     confidential document that I received, any copy of or excerpt

                     from a confidential document, and any notes or other document

                     that contains information from a confidential document.

                            I declare under penalty of perjury that the foregoing is

                     true and correct.




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       (c)    A party may supplement the “confidential” mark (see paragraph 2(b)) with

       the words “attorney’s eyes only,” in which case a confidential document so

       designated may not be revealed to a party under Section 3(b)(5) above.

       (d)    If a confidential document is revealed to someone not entitled to receive it,

       the parties must make reasonable efforts to retrieve it.

   4. Serving This Protective Order on a Non-Party. A party serving a subpoena on a

non-party must simultaneously serve a copy of this protective order and of Local Rule 5.6.

   5. Correcting an Error in Designation. A party or non-party who discloses or

produces a confidential document not designated as confidential may, within 7 days after

discovering the error, provide notice of the error and produce a copy of the document

designated as confidential.

   6. Use of a Confidential Document in Court.

       (a)    Filing. This protective order does not authorize the filing of any document

       under seal. A confidential document may be filed only in accordance with LR 5.6.

       (b)    Presentation at a hearing or trial. A party intending to present another party’s

       or a non-party’s confidential document at a hearing or trial must promptly notify the

       other party or the non-party so that the other party or the non-party may seek relief

       from the court.

   7. Changing a Confidential Document’s Designation.

       (a)    Document disclosed or produced by a party. A confidential document

       disclosed or produced by a party remains confidential unless the parties agree to

       change its designation or the court orders otherwise.


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   (b)    Document produced by a non-party. A confidential document produced by

   a non-party remains confidential unless the non-party agrees to change its

   designation or the court orders otherwise after providing an opportunity for the non-

   party to be heard.

   (c)    Changing a designation by court order. A party who cannot obtain agreement

   to change a designation may move the court for an order changing the designation.

   If the motion affects a document produced by a non-party then, with respect to the

   motion, that non-party is entitled to the same notice and opportunity to be heard as

   a party. The party or non-party who designated a document as confidential must

   show that the designation satisfies Fed. R. Civ. P. 26(c).

8. Handling a Confidential Document after Termination of Litigation.

   (a)    Within 60 days after the termination of this action (including any appeals),

   each party must:

          (1)    return or destroy all confidential documents; and

          (2)    notify the disclosing or producing party that it has returned or

          destroyed all confidential documents within the 60-day period.

   (b)    Notwithstanding paragraph 8(a), each attorney may retain a copy of any

   confidential document submitted to the court as well as a copy of any

   correspondence generated in connection to this action.

9. Inadvertent Disclosure or Production to a Party of a Protected Document.

   (a)    Notice.




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              (1)     A party or non-party who discovers that it has inadvertently disclosed

              or produced a protected document must promptly notify the receiving party

              and describe the basis of the claim of privilege or protection. If the party or

              non-party provides such notice and description, the privilege or protection is

              not waived.

              (2)     A party who discovers that it may have received an inadvertently

              disclosed or produced protected document must promptly notify the

              disclosing or producing party or non-party.

       (b)    Handling of Protected Document. A party who is notified or discovers that it

       may have received a protected document must comply with Fed. R. Civ. P.

       26(b)(5)(B).

   10. Security Precautions and Data Breaches.

       (a)    Each party must make reasonable efforts to protect the confidentiality of any

       confidential document disclosed or produced to that party.

       (b)    A party who learns of a breach of confidentiality must promptly notify the

       disclosing or producing party of the scope and nature of that breach and make

       reasonable efforts to remedy the breach.

   11. Survival of Obligations. The obligations imposed by this protective order survive

the termination of this action.

   12. Minnesota Data Practices Act.

       To the extent otherwise discoverable under the Federal Rules of Civil Procedure,

the City of Minneapolis may make available to the Plaintiff’s attorneys for their


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inspection and copying the following documents under the terms and conditions set forth

herein:

          (a)   Minneapolis Police Department Personnel files excluding home addresses,

                home phone numbers, dates of birth, medical and psychological data, and

                social security numbers for any City employee;

          (b)   Minneapolis Police Department Internal Affairs records;

          (c)   Minneapolis Civilian Police Review Authority records;

          (c)   Minneapolis Police Department investigative data; and,

          (d)   Any such documents the parties agree are subject to the provisions of this

                Order.

 Date: June 23, 2020                                s/ Katherine Menendez
                                                    Katherine Menendez
                                                    United States Magistrate Judge




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